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Jeremy V. Richards (CA Bar No. 102300)

Malhar S. Pagay (CA Bar No. 189289)

Steven J. Kahn (CA Bar No, 079633)

PACHULSKI STANG ZIEHL & JONES LLP
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Los Angeles, California 90067-4003

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Email: jrichards@pszjlaw.com; skahn@pszjlaw.com

Counsel for John Hyde, Plan Agent

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

LOS ANGELES DIVISION
In re: Case No.: 2:10-bk-12122-BR
PERSIK PRODUCTIONS, INC., fka Chapter 11
BOB YARI PRODUCTIONS,
Debtor
JOHN HYDE, in his capacity as Plan Adv. Proc. No.
Agent,
Plaintiff
COMPLAINT FOR AVOIDANCE AND
VS. RECOVERY OF PREFERENTIAL AND
FRAUDULENT TRANSFERS
DE MINIMIS POST PRODUCTIONS,
LLC, a Delaware Limited Liability
Company,
Defendant.

 

 

 

 

John Hyde, in his capacity as the Plan Agent (“Plan Agent” or “Plaintiff”) under the terms of
the Debtor’s Second Amended Chapter 11 Plan of Reorganization confirmed on May 16, 2011 (the
“Plan”) in the bankruptcy case (the “Case”) of Persik Productions, Inc. fka Bob Yari Productions
(“Persik” or “Debtor”), for his complaint (the “Complaint”) against De Minimis Post Productions,

LLC alleges as follows:

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The Parties

1. Plaintiff is the duly appointed Plan Agent appointed pursuant to section 6.6 of the
Plan.

Z The Debtor is a corporation organized under the laws of the State of California that
maintained its principal place of business in Los Angeles, California.

3. Upon information and belief, defendant De Minimis Post Productions, LLC
(“De Minimis” or “Defendant”) was a Delaware limited liability company, located and doing
business in Los Angeles, California.

4, During all times relevant hereto, Defendant was an affiliate of the Debtor as defined
in 11 U.S.C. § 101(2), and as such was an insider of the Debtor as defined in 11 U.S.C. §
101(31)(E), and as acknowledged by the Debtor in its Supplement to Statement of Financial Affairs
filed March 3, 2010.

Jurisdiction and Venue

5. The Court has jurisdiction over this matter under the Bankruptcy Code and pursuant
to 28 U.S.C. §157(a) and §1334(a) and this is a core proceeding pursuant to 28 U.S.C. § 157.

6, Venue in this district is proper pursuant to 28 U.S.C. §1409(a).

1: The statutory predicates for the relief requested herein are sections 544, 547, 548 and
550 of the Bankruptcy Code and Rules 7001(1) and (9) of the Federal Rules of Bankruptcy
Procedure and sections 3439, et seq. of the California Civil Code.

General Allegations

8, On January 20, 2010 (the “Petition Date”), the Debtor filed a voluntary petition for
relief under chapter 11 of the Bankruptcy Code.

9. On March 11, 2011, the Debtor filed its Plan, which was confirmed by the
Bankruptcy Court on May 26, 2011 and became effective on October 12, 2011,

10. Plaintiff is informed and believes that at least one creditor holding an unsecured
claim that is allowable under Section 502 of the Bankruptcy Code or that is not allowable under

Section 502(e) of the Bankruptcy Code exists who can avoid the transfers and/or obligations

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referred to in this Complaint. Plaintiff may therefore assert the rights of such creditors pursuant

to Section 544(b) of the Bankruptcy Code.

The Transfers Sought to Be Avoided

11. On the dates and in the amounts set forth on Exhibit “A” hereto, the Debtor
made the transfers of its interest in property (the “Transfers”) to or for the benefit of Defendant,
as acknowledged by the Debtor in its Supplement to Statement of Financial Affairs # 3c, filed
with the Court on March 3, 2010.

12. To date, despite demand therefor, neither the Debtor nor the Defendant has yet to
provide any information to Plaintiff to demonstrate why such Transfers, or any of them, are not
subject to avoidance as asserted herein.

FIRST CLAIM FOR RELIEF
(To Avoid Preferential Transfers — U.S.C. § 547)

13. Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 12 as
though set forth fully herein.

14. On information and belief, Plaintiff alleges that the Transfers totaling no less than
$321,880.50 were made to or for the benefit of the Defendant within one year prior to the Petition
Date, and were made to the Defendant as a creditor of the Debtor, and on account of an antecedent
debt owed by the Debtor to the Defendant before the Transfers were made.

15. | The Transfers were made while the Debtor was insolvent.

16. The Transfers to or for the benefit of the Defendant enabled the Defendant to receive
more than it would have received if: (a) the Debtor’s case was a case under chapter 7 of the
Bankruptcy Code; (b) if the Transfers had not been made; and (c) the Defendant received payment
on the debt to the extent provided by the Bankruptcy Code.

17. Plaintiff acknowledges that Defendant may assert defenses as to some portion or all
of said Transfers and Plaintiff will work with Defendant in good faith so as to resolve any issues

relating to any such defenses.

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18. Plaintiffs is entitled to an order and judgment against the Defendant under section 547
of the Bankruptcy Code that each of the Transfers is avoided.
SECOND CLAIM FOR RELIEF
(To Avoid Intentionally Fraudulent Pre-Petition Transfers under
11 U.S.C. §§ 544(b) and 548(a)(1)(A), and Cal. Civ. Code §§ 3439.04(a)(1) and 3439.07)

19. Plaintiff realleges and incorporates by reference each and every allegation set forth in
paragraphs 1 through 12 above, inclusive, as though fully set forth herein.

20. Alternatively, Plaintiff is informed and believes and thereon alleges that some or all
of the Transfers were caused to be made by the Debtor to or for the benefit of Defendant with an
actual intent to hinder, delay or defraud the Debtor’s creditors.

21. Plaintiff is informed and believes that at all relevant times, said Transfers were
avoidable pursuant to 11 U.S.C. §§ 544 (b) and 548(a)(1)(A) and Cal. Civ. Code §§
3439.04(a)(1) and 3439.07.

THIRD CLAIM FOR RELIEF
(To Avoid Constructively Fraudulent Pre-Petition Transfers Under
11 U.S.C. §§ 544(b) and 548(a)(1)(B) and Cal. Civ. Code §§ 3439.04(a)(2) and 3439.05)

22. Plaintiff realleges and incorporates by reference each and every allegation set forth in
paragraphs 1 through 12 above, inclusive, as though fully set forth herein.

23. Alternatively, Plaintiff is informed and believes, and thereon asserts that at all
relevant times, the Debtor: (a) was insolvent, or became insolvent as a result of each Transfer;

(b) was engaged in or were about to engage in a business or a transaction for which its
remaining assets were unreasonably small in relation to the business or transaction; or (Cc)
intended to incur, or believed or reasonably should have believed that the Debtor would incur,
debts beyond its ability to pay as they became due.

24. Plaintiff is informed and believes, and thereon asserts, that Defendant did not
give the Debtors, and the Debtors did not otherwise receive, reasonably equivalent value in

exchange for any of the Transfers.

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25.  Atall relevant times, said Transfers and Debts were avoidable pursuant to
11 U.S.C §§ 544(b) and 548(a)(1)(B) and Cal. Civ. Code §§ 3439.04(a)(2), 3439.05 and
3439.07.

FOURTH CLAIM FOR RELIEF
(Recovery of Property - 11 U.S.C. §§ 544(b), 548 and 550 and
Cal. Civ. Code §§ 3439.07 and 3439.08)

26. Plaintiff repeats and realleges the allegations contained in each preceding paragraph
of the Complaint as though set forth fully herein.

27. Upon information and belief, Plaintiff alleges that Defendant is the initial transferee
of the Transfers referenced above, the immediate or mediate transferee of such initial transferee, or
the person for whose benefit said Transfers were made.

28. Plaintiff is entitled to avoid the Transfers under section 547 of the Bankruptcy Code
or under either or both sections 544(b) and 548 of the Bankruptcy Code, and section 544(b) of the
Bankruptcy Code and Cal. Civ. Code §§ 3439.05, 3439.05 and 3439.07. Plaintiff is entitled to
recover for the post-petition estate the proceeds or value of the respective Transfers under 11 U.S.C.
§ 544(b) or 11 U.S.C. § 547 and 550, and Cal. Civ. Code §§ 3439.07 and 3439.08.

WHEREFORE, Plaintiff prays for judgment as follows:

a For a determination that each of the Transfers is avoidable as a preferential transfer
pursuant to section 547 of the Bankruptcy Code, and that Plaintiff is entitled to recover each such
Transfer or the value thereof under section 550 of the Bankruptcy Code;

a For a determination that each of the Transfers is avoidable as a fraudulent transfer
pursuant to 11 U.S.C. §§ 544(b) and 548, and Cal. Civ. Code §§ 3439.04, 3439.05 and 3439.07, and
that Plaintiff is entitled to recover each of such Transfers or the value thereof under 11 U.S.C. § 550
and Cal. Civ. Code §§ 3439.07 and 3439.08;

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3. Prejudgment interest;
4, Costs of suit incurred herein; and

55 For such other and further relief as the Court may deem just and proper.

Dated: January /) , 2012 PACI oa VE (SAONES LLP

 
 
  

 

By pf yf fe
Jeremy V. Richards

Malhar S. Pagay
Steven J. Kahn

Counsel to John Hyde, Plan Agent

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EXHIBIT A
EXHIBIT A

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payment Date Description/Payee Per Debtor Amount
1/27/2009 De Minimis Post Productions, LLC $2,000.00
3/17/2009 De Minimis Post Productions, LLC $500.00
3/24/2009 De Minimis Post Productions, LLC $500.00
3/26/2009 De Minimis Post Productions, LLC $1,000.00
4/13/2009 Franchise Tax Board $800.00
4/21/2009 De Minimis Post Productions, LLC $9,300.00
4/27/2009 De Minimis Post Productions, LLC $3,500.00
5/26/2009 De Minimis Post Productions, LLC $2,500.00
5/27/2009 De Minimis Post Productions, LLC $7,000.00
6/15/2009 De Minimis Post Productions, LLC $20,000.00
6/18/2009 Parasec $125.00
7/22/2009 De Minimis Post Productions, LLC $10,000.00
7/28/2009 De Minimis Post Productions, LLC $1,000.00
7/29/2009 De Minimis Post Productions, LLC $167,000.00
8/7/2009 De Minimis Post Productions, LLC $75,000.00
8/14/2009 De Minimis Post Productions, LLC $16,000.00
9/11/2009 De Minimis Post Productions, LLC $655.50
11/23/2009 De Minimis Post Productions, LLC $5,000.00

TOTAL $321,880.50

 

 

 

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FORM B104 (08/07)

2007 USBC, Centra! District of California

 

ADVERSARY PROCEEDING COVER SHEET

(Instructions on Page 2)

ADVERSARY PROCEEDING NUMBER
(Court Use Only)

 

 

PLAINTIFFS
John Hyde, in his capacity as Plan Agent,

DEFENDANTS

DE MINIMIS POST PRODUCTIONS, LLC, a
Delaware limited liability company

 

ATTORNEYS (Firm Name, Address, and Telephone No.)
Jeremy V. Richards (CA Bar No. 102300)
Malhar S. Pagay (CA Bar No. 189289)
Steven J. Kahn (CA Bar No. 079633)

PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Blvd., 13th Floor

Los Angeles, California 90067

Phone: 310/277-6910; Fax: 310/201-0760

ATTORNEYS (If Known)

Elizabeth A. Bell, Esq.

Senior Vice President & General Counsell
Yari Film Group, LLC

10850 Wilshire Boulevard, Sixth Floor
Los Angeles, California 90024

 

PARTY (Check One Box Only) PARTY (Check One Box Only)

[] Debtor _] u.s. Trustee/Bankruptcy Admin [] Debtor [_] U.S. Trustee/Bankruptcy Admin
{_] Creditor DX] Other C] Creditor [_] Other

_] Trustee LJ Trustee

 

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Recovery of money/property - §547 preference; Recovery of money/property - §548 fraudulent transfer

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) — Recovery of Money/Property

CO
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CO

FRBP 7001(2) — Validity, Priority or Extent of Lien

41-Recovery of money/property - §542 turnover of property
12-Recovery of money/property - §547 preference
13-Recovery of money/property - §548 fraudulent transfer
14-Recovery of money/property - other

CT 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
Cc 31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
[_] 41-Objection / revocation of discharge - §727(c),(d),(e) [1]

FRBP 7001(5) — Revocation of Confirmation
CL] 51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
LC] 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims

LC] 62-Dischargeability - §523(a)(2), false pretenses, false
representation, actual fraud

67-Dischargeability — §523(a)(4), fraud as fiduciary, embezzlement,

larceny [2]
(continued next column)

FRBP 7001(6) - Dischargeability (continued)

Cc 61 -Dischargeability - §523(a)(5), domestic support

_] 68 -Dischargeability - §523(a)(6), willful and malicious injury [3]

CL 63 -Dischargeability - §523(a)(8), student loan

CT 64 -Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)

C] 65 -Dischargeability - other

FRBP 7001(7) - Injunctive Relief
CI 71 -Injunctive relief - imposition of stay
TC 72 -Injunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
C 81 -Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
CI 91 -Declaratory judgment

FRBP 7001(10) Determination of Removed Action
T] 01 -Determination of removed claim or cause

Other

] SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.

Oo 02-Other (e.g. other actions that would have been brought in state
court if unrelated to bankruptcy case)

 

Check if this case involves a substantive issue of state law

[_] Check if this is asserted to be a class action under FRCP 23

 

 

Check if a jury trial is demanded in complaint

 

Demand $321,880.50

 

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Other Relief Sought

 

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.
PERSIK PRODUCTIONS, INC., f/k/a BOB YARI PRODUCTIONS 2:10-bk-12122 BR
DISTRICT IN WHICH CASE IS PENDING DIVISIONAL OFFICE NAME OF JUDGE
Central District of California Los Angeles Hon. Barry Russell

 

 

 

RELATED ADVERSARY PROCEEDING (IF ANY)

 

 

 

 

 

 

 

 

 

PLAINTIFF DEFENDANT ADVERSARY PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISIONAL OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY OB FLAINTIES) - Z
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DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
January 18, 2012 Steven J. Kahn

PACHULSKI STANG ZIEHL & JONES LLP

 

 

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may
be lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party fing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as par of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not presented by an
attorney, the plaintiff must sign.

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Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number FOR COURT USE ONLY

Jeremy V. Richards (CA Bar No. 102300)

Malhar S. Pagay (CA Bar No. 189289)

Steven J. Kahn (CA Bar No. 079633)

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mpagay@pszjlaw.com
skahn@pszjlaw.com

Attorney for Plaintiff John Hyde, in his capacity as Plan Agent

 

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

 

In re: CHAPTER _ 11

CASE NUMBER 2:10-bk-12122-BR
PERSIK PRODUCTIONS, INC. f/k/a BOB YARI PRODUCTIONS,

 

 

Debtor. | ADVERSARY NUMBER
John Hyde, in his capacity as Plan Agent, (The Boxes and Blank Lines below are for the Court's
Plaintiff(s), Use Only) (Do Not Fill Them In)

vs.
DE MINIMIS POST PRODUCTIONS, LLC, a Delaware limited liability
company, SUMMONS AND NOTICE OF
STATUS CONFERENCE

Defendant(s).

 

 

 

TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend yourself, you must file
with the Court a written pleading, in duplicate, in response to the Complaint. You must also send a copy of your written
response to the party shown in the upper left-hand corner of this page. Unless you have filed in duplicate and served a
responsive pleading by _ the Court may enter a judgment by default against you for the relief
demanded in the Compiaint.

 

A Status Conference on the proceeding commenced by the Complaint has been set for:

 

Hearing Date: Time: Courtroom: Floor:
>] 255 East Temple Street, Los Angeles [] 411 West Fourth Street, Santa Ana
[] 21041 Burbank Boulevard, Woodland Hills [] 1415 State Street, Santa Barbara

[] 3420 Twelfth Street, Riverside

PLEASE TAKE NOTICE that if the trial of the proceeding is anticipated to take less than two (2) hours, the parties may
stipulate to conduct the trial of the case on the date specified, instead of holding a Status Conference. Such a stipulation
must be lodged with the Court at least two (2) Court days before the date set forth above and is subject to Court approval.
The Court may continue the trial to another date if necessary to accommodate the anticipated length of the trial.

KATHLEEN J. CAMPBELL
Date of Issuance: Clerk of Court

 

By:

 

 

 

Deputy Clerk

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

Fahriiary 9011 (COA-SA\ F 7004-1
Summons and Notice of Status Conference - Page 2 F 7004-1
CASE NO:

 

 

Debtors

 

 

 

NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category |.
Proposed orders do not generate an NEF because only orders that have been entered are placed on the CM/ECF docket.

PROOF OF SERVICE OF DOCUMENT
| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
40100 Santa Monica Bivd., 13"" Floor, Los Angeles, CA 90067

True and correct copies of the foregoing document(s) described as
will be served or was served (a) on the judge in chambers

in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

 

 

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) — Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) ("LBR’), the foregoing document will be served by the court via NEF and hyperlink
to the document. On | checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission
at the email address(es) indicated below:

[1] Service information continued on attached page

ll. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):

On | served the following person(s) and/or entity(ies) at the last known address(es) in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

[] Service information continued on attached page

ill. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or
entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on | served the following person(s) and/or
entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge will be
completed no later than 24 hours after the document is filed.

LC) Service information continued on attached page

| declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 

Date Type Name Signature

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

February 2010 (COA-SA) F 7004-1
